
WHIPPLE, J.,
dissenting.
hi respectfully disagree with the majority’s decision to affirm summary judgment. In my view, the policy is ambiguous and *875internally inconsistent in that “OPTION DO” first provides coverage in item “No. 1,” (as shown in the majority’s citation of the policy’s provisions) and then purports to take coverage away in item “No. 2.” As appellant astutely notes, accepting the ap-pellees’ interpretation of the policy renders the purported coverage virtually meaningless, in that it is difficult to discern what exactly is covered/excluded under this policy. Thus, I am unable to find that summary judgment was warranted on this basis.
For these reasons, I respectfully dissent.
